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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF KENTUCKY
                            OWENSBORO DIVISION


JANE COLLINS,                             )
                                          )
               Plaintiff                  )
                                          )
      vs.                                 ) CAUSE NO. 4:17-CV-128-JHM
                                          )
DAVIESS COUNTY                            )
BOARD OF EDUCATION                        )
                                          )
               Defendant                  )

                   COMPLAINT AND DEMAND FOR JURY TRIAL

                                  I. NATURE OF THE CASE

      1.       Plaintiff, Jane Collins (“Collins”), by counsel, brings this action against

Defendant, Daviess County Public Schools (“Defendant”) alleging violations of the

Americans with Disabilities Act, (“ADA”), as amended, 42 U.S.C. § 12101 et. seq. and the

Kentucky Civil Rights Act.

                                        II. PARTIES

      2.       Collins is a resident of the Commonwealth of Kentucky, who at all times

relevant to this action reside within the geographical boundaries of the Western District

of Kentucky.

      3.       Defendant is a corporation which maintains offices and conducts business

within the geographical boundaries of the Western District of Kentucky.

                              III. JURISDICTION AND VENUE

      4.       Jurisdiction is conferred on this Court over the subject matter of this
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litigation pursuant to 28 U.S.C. §1331; 28 U.S.C. § 1343; and 42 U.S.C. § 12117. Collin’s

state law claim arises from the same common nucleus of operative facts as her federal

law claims and all of her claims form a single case and controversy under Article III of

the United States Constitution.

      5.       Defendant is an “employer” as that term is defined by 42 U.S.C. §

12111(5)(A).

      6.       Collins is a qualified individual with a disability as that term is defined by

the ADA, 42 U.S.C. § 12102(2)(c). At all relevant times, Defendant had knowledge of

Collins’s disability and/or it regarded Collins as being disabled and/or Collins has a

record of being disabled.

      7.       Collins satisfied her obligation to exhaust her administrative remedies

having timely filed Charges of Discrimination with the U.S. Equal Employment

Opportunity Commission against Defendants alleging discrimination based on disability

and age. Collins received the required Notice of Suit Rights and timely files this action.

      8.       All events, transactions, and occurrences relevant to this lawsuit arose

within the geographical environs of the Western District of Kentucky; thus venue is

proper in this Court.

                                IV. FACTUAL ALLEGATIONS

      9.       Collins was hired by the Defendant in or about August 1995. She most

recently worked as a Secretary. At all times relevant, she met or exceeded Defendant’s

legitimate performance expectations.




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       10.    In or about April 2016, Collins informed Defendant of her disability,

which affects her major life activities or seeing and working. Collins has an extreme

sensitivity to scents, which causes irritation and pain to her eyes upon exposure. Collins

requested an accommodation for her disability, including a scent-free workplace, which

was originally denied.

       11.    Following her request, Collins was subjected to different terms and

conditions than her younger, non-disabled coworkers.

       12.    At some point, Defendant did direct that Collins’ work area be scent free;

however, the accommodation was not enforced and Collins continued to suffer due to

scents in her work area, despite her communicating her concerns to Defendant regularly.

Defendant failed to engage in the interactive process and failed to accommodate Collins’

disability.

       12.    Because of its continued failures, Collins was constructively discharged on

or about May 1, 2017.

                                  V. CAUSES OF ACTION

                          COUNT I-DISABILITY DISCRIMINATION

       13.    Collins hereby incorporates paragraphs one (1) through twelve (12) of his

Complaint.

       14.    Defendant violated Collins’ rights as protected by the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. and the Kentucky Civil Rights Act discriminating

against her because of her actual or perceived disability. Further, Defendant failed to




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accommodate Collins’ disability and failed to engage in the interactive process in

violation of the ADA.

       15.    Defendant's actions were intentional, willful and in reckless disregard of

Collins’ rights as protected by the ADA.

       16.    Collins has suffered and continues to suffer harm as a result of Defendant’s

unlawful actions.

                 COUNT II –DISABILITY DISCRIMINATION- RETALIATION

       17.    Collins hereby incorporates paragraphs one (1) through sixteen (16) of her

Complaint.

       18.    Collins engaged in protected activity under the ADA and Kentucky Civil

Rights Act.

       19.    Defendant retaliated against Collins for engaging in protected activity by

constructively discharging her employment and failing to accommodate her disability.

       20.    Defendant violated Collins’ rights as protected by the Americans with

Disabilities Act, 42 U.S.C. § 12101 et. seq. and the Kentucky Civil Rights Act.

       21.    Defendant's actions were intentional, willful and in reckless disregard of

Collins’ rights as protected by the ADA.

       22.    Collins has suffered and continues to suffer harm as a result of Defendant’s

unlawful actions.

                                 VI. REQUESTED RELIEF

       WHEREFORE, Plaintiff, Jane Collins, respectfully requests that this Court enter

judgment in her favor and award her the following relief:


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       1.       Reinstate Collins to the position, salary, and seniority level she would have

enjoyed but for Defendants’ unlawful actions; and/or payment to Collins of front pay in

lieu thereof;

       2.       Accommodate Collins’ disability within the meaning of the ADA;

       3.       All wages, benefits, compensation, and other monetary loss suffered as a

result of Defendant’s unlawful actions;

       4.       Compensation for any and all other damages suffered as a consequence of

Defendant’s unlawful actions;

       5.       Compensatory damages for Defendant’s violations of the ADA;

       6.       All costs and attorney’s fees incurred as a result of bringing this action;

       7.       Pre- and post-judgment interest on all sums recoverable; and

       8.       All other legal and/or equitable relief this Court sees fit to grant.



                                            Respectfully submitted,

                                            BIESECKER DUTKANYCH & MACER, LLC

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                              DEMAND FOR JURY TRIAL

Plaintiff, Jane Collins, by counsel, requests a trial by jury on all issues deemed so triable.



                                            Respectfully submitted,

                                           BIESECKER DUTKANYCH & MACER, LLC

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